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    <!>.AO 2450 (CASD) (Rev. 8111) Judgment in a Criminal Case for Revocations
                Sheetl



                                              UNITED STATES DISTRICT COURT
                                                    SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                               V.                                                 (For Revocation of Probation or SuperVised ReleaSe) --' ­
               JONATHAN MICHAEL TIETJENS [2J                                      (For Offenses Committed On or After November 1, 1987)


                                                                                  Case Number: IOCR4553-BTM

                                                                                  JOHN COTSIRILOS
                                                                                  Defendant's Attorney
    REGISTRATION No. 22749298
o
    TIlE DEFENDANT:
    [8] admitted guilt to violation ofallegation(s) No . ....;l_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     D was found in violation of allegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):

    Allegation Number                     Nature ofViolatiog
                              Failure to complete punitive RRC placement




            Probation          is revoked and the defendant is sentenced as provided in pages 2 through               4    of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


              IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all tines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notifY the court and Untted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                  APRIL 27,2012
                                                                                  Dale of Imposition of Sentence




                                                                                                                               10CR4553-BTM
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AO 2458     (Rev. 9100) Judgment in Criminal Case
            Sheet 2 Imprisonment

                                                                                               Judgment-Page _..;;.2_ of           4
DEFENDANT: JONATHAN MICHAEL TIETJENS [2J
CASE NUMBER: lOCR4553-BTM
                                                            IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of




                                                                                           ~~
          FOUR (4) MONTHS.



   o The court makes the following recommendations to the Bureau of Prisons:
                                                                                            as:;
                                                                                               BARRYiED
                                                                                                          ~l~
                                                                                               UNITED STATES DISTRICT JUDGE
                                                                                                                           IT          ~

    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Oa·m.    Q.m.        on
                as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before -------------------------------------------------
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                               RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                  to

 at _______________ , with a certified copy of this judgment.


                                                                                             UNITED STATES MARSHAL


                                                                     By ________~~~~~~~~~~----------
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                        IOCR4553-BTM
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AO 2450 (CASO) (Rev. 8/11) Judgment in a Criminal Case for Revocations
           Sheet 3 Supervised Release
                                                                                                           Judgment-Page    ---1- of _ _4'--_ _
DEFENDANT: JONATHAN MICHAEL TIETJENS [2]
CASE NUMBER: lOCR4553-BTM
                                                                                                   •
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TWO (2) YEARS.


         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal. state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --­

o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).



o       The defendant shall participate in an approved program for domestic violence. (Check. if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
   I)     the defendant shall not leave the judicial district without the permission Qf the CQurt or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 Jl)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

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       AO 2458    (Rev. 9/00) Judgment in a Criminal Case
                  Sheet 4- Special Conditions


       DEFENDANT: JONATHAN MICHAEL TIETJENS [2]
       CASE NUMBER: IOCR4553-BTM
                                                                                                 .    Judgment-Page ---L- of _.....:..4_ _




                                              SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
181 Participate in a program of drug amd alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written pennission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.
181 Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment infonnation to the probation officer and the Court by the mental health provider.


o   The defendant shall not discontinue mental health medication without written pennission of his Doctor.

D Provide complete disclosure ofpersonal and business financial records to the probation officer as requested.
D
181 Seek and maintain full time employment and/or schooling or a combination of both.
181 Abstain from all use of Alcohol.
o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of 120 days commencing upon release.
D Reside in a Sober Living facility for a period of I year after the RRC placement.
D Forthwith Apply for enter and successfully complete the CRASH residential drug treatment Program as directed by the Probation Officer.
D If the defendant has complied with all conditions of Supervised Release for SIX (6) months, Supervised Release may be tenninated on
    application to the Court and good cause shown.




                                                                                                                                  IOCR4553-BTM
